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                                        ORDERED.

         Dated: May 16, 2019




                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

In re:                                                        Case No.: 8:19-bk-03059-RCT
                                                              Chapter 7
Karin D. Case

                 DEBTOR                        /

  ORDER AUTHORIZING THE CHAPTER 7 TRUSTEE TO RETAIN BK GLOBAL
REAL ESTATE SERVICES AND GREG ARMSTRONG OF COLDWELL BANKER F.I.
GREY RESIDENTIAL, INC. TO PROCURE CONSENTED PUBLIC SALE PURSUANT
            TO 11 U.S.C. §§327, 328 AND 330 OF THE PROPERTY

          Upon the Notice and Application of Richard M. Dauval, the trustee in the above-captioned

case (“Trustee”), to Retain BK Global Real Estate Services and Greg Armstrong of Coldwell

Banker F.I. Grey Residential, Inc. to Procure Consented Public Sale pursuant to 11 U.S.C. § §

327, 328 and 330 (“Application”) [Docket No. 12], the Court having reviewed and considered the

Notice, Application and the Affidavit of Disinterestedness and having found good and sufficient

cause appearing therefor and the same to be in the best interest of Debtor and the creditors.

Accordingly, it is

          ORDERED:

          1. The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 157(b)(2).

          2. Venue of this Chapter 7 case and the Application is proper pursuant to 28 U.S.C. §§

             1408 and 1409.
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3. The Application is APPROVED.

4. The Trustee is authorized to retain and compensate BKRES and Listing Agent to

   procure Secured Creditor’s Consent, and otherwise market and sell the Property, in

   Debtor’s Chapter 7 case pursuant to Sections 327, 328(a) and 330 of the Bankruptcy

   Code, and Bankruptcy Rules 2014 and 2016, in accordance with the terms and

   conditions set forth in the BKRES Agreement, the Listing Agreement and this Order.

   BKRES and Listing Agent shall not split or otherwise share their fees with any other

   person or entity. Defined terms not otherwise defined herein have the meanings given

   to them in the Application and the Affidavit.

5. BKRES and Listing Agent are disinterested persons within the meaning of Bankruptcy

   Code Section 101(14).

6. BKRES and Listing Agent shall be compensated in accordance with the BKRES

   Agreement and Listing Agreement, respectively, and such compensation shall not

   hereafter be subject to challenge except under the standard of review set forth in

   Section 330 of the Bankruptcy Code.

7. BKRES and Listing Agent shall be authorized to receive and retain their fees from

   Secured Creditor at the successful closing of the sale of the Property without necessity

   of further order of the Court. The estate shall, in no circumstance, be obligated to

   compensate BKRES or Listing Agent in such event and BKRES and Listing Agent

   shall not have a claim against the estate for any unpaid amounts. BKRES and Listing

   Agent, and anyone claiming by, through or under either of them, shall only have

   recourse for recovering its fee to Secured Creditor. The estate shall have no liability

   for any such claim.
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       8. This Court shall retain jurisdiction to hear and determine all matters arising from or

           related to the implementation of this Order.


Attorney, Richard M. Dauval, Esq., is directed to serve a copy of this order on interested parties
who are non-CM/ECF users and to file a proof of service within three days of entry of the order.
